RICO (“Puerto Rico”), PRO SE,

defendants in the above- entitled action.

Case 3:14-cv-01670-JAG Document1 Filed 09/04/14 Page 1 of 7

 

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IN THE UNITED STATES DISTRICT COURT CAS nee PILED
FOR THE DISTRICT OF PUERTO RICO 2014 SEP ~4 py >
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ON cy vic COURT
YALITZA ROSARIO MENENDEZ . IAW PR.

PLAINTIFF
VS.

ADMINISTRACION DE
COMPENSACIONES POR

JOHN DOES; JANE DOES,

DEFENDANTS

 

ACCIDENTES DE AUTOMOVILES;

 

CIVIL ACTION: | - 1670 51

VERIFIED COMPLAINT

JURY CLAIM AS TO ALL COUNTS

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INTRODUCTION

 

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YALITZA ROSARIO MENENDEZ (“Plaintiff”) of the COMMONWEALTH OF PUERTO

hereby asserts the following claims against the

JURISDICTION

1. Jurisdiction of this court arises under 42 U.S.C. Sec. 1983

2. Jurisdiction of this court arises under the American with Disabilities Act, 42

U.S.C. Sec.12101, et seq, (“ADA”), as amended.

3. This Court has jurisdiction pursuant to the following statutes:

a. 28 U.S.C. Sec. 1331, which gives district courts original jurisdiction

over civil actions arising under the Constitution, laws or treaties of the

United States;

 

 
Case 3:14-cv-01670-JAG Document1 Filed 09/04/14 Page 2 of 7

b. 28 U.S.C. Sec. 1343 (3) and (4), which gives district courts jurisdiction
over actions to secure civil rights extended by the United States
government;

c. 28 U.S.C. Sec. 1367, which gives the district court supplemental
jurisdiction over state law claim.

4. Venue is appropriate in this judicial district under 28 U.S.C. Sec. 1391 (b)
because the events that gave rise to this Complaint occurred in this district.
PARTIES

5. YALITZA ROSARIO MENENDEZ (“Plaintiff”) is a natural person residing at
Caguas, Puerto Rico, United States of America; was a resident of Puerto Rico
during all relevant times of this action.

6. ADMINISTRACION DE COMPENSACIONES POR ACCIDENTES DE
AUTOMOVILES (ACAA) (“Defendant”), a Commonwealth of Puerto Rico
agency, but arranged as a public corporation (Commonwealth’s Law # 138,
June 26", 1968) thus a public entity for the purposes of the ADA pursuant to 42
U.S.C.. Sec. 12131(1), located in San Juan, Puerto Rico, which is in this judicial
district. It is responsible for the policies, procedures, and practices implemented
pursuant to it’s charter; agents, departments, and employees, and for injury
occasioned thereby. It was also the public employer of defendants John Does and
Jane Does, at all times relevant to this Complaint and at this point unbeknown to
plaintiff.

7. JOHN DOES, JANE DOES and others not presently known to plaintiff were, at all

times material to this Complaint, duly appointed Defendant’s officials.

 

 
Case 3:14-cv-01670-JAG Document1 Filed 09/04/14 Page 3 of 7

FACTS
8. In 2006, Plaintiff was hired by the Defendant to the post of Injured Service
Coordinator, at Commonwealth of Puerto Rico Medical Center.
9. In March, 2010, Plaintiff was fired by Defendant.
10. On or about July 2011, the parties reached an agreement, reinstating Plaintiff to
her original post, with all the duties and responsibilities pertaining said post.
11. As of today there has been an egregious breach of the aforementioned
agreement.
12. On or about 2013, acting under the color of state and federal law, Defendants
have denied Plaintiff's numerous requests to comply with said agreement, which
among other provisions provided for reasonable accommodation, within the frame
of ADA statute.
13. Plaintiff suffers from a debilitating form of epilepsy, which entitles her to
reasonable accommodation under the protective umbrella of the ADA statute.
14. As of today Plaintiff has been marginalized and the duties of her post striped by
Defendants.
15. Defendants’ discriminatory, intentional, prosecutorial and malicious acts, have
exacerbated the aforementioned Plaintiff's health condition, also affecting her
capabilities to undertake everyday tasks such as but not limited to: sleeping, driving
a car, interpersonal relationships; notwithstanding the foregoing, Plaintiff can still
perform the duties of her post, given that Defendants comply with Plaintiff's requests
of reasonable accommodation, which is her right under the ADA statute.

COUNT ONE: VIOLATION OF 42 U.S.C. 1983

 

 
Case 3:14-cv-01670-JAG Document1 Filed 09/04/14 Page 4 of 7

16. Plaintiff repeats and realleges and incorporates by reference the paragraphs 1
through 13 above with the same force and effect as if herein set forth.
17. Defendants have deprived Plaintiff her federal constitutional and/or statutory
righst by failing and refusing to provide Plaintiff with reasonable accommodation
18. Defendants have acted under color of state law when Defendants deprived
Plaintiff of her federal rights, property interests and otherwise discriminated against
her based upon Plaintiff's disability and Plaintiff's wherewithal to demand that
Defendants comply with Federal and/or State law.
19. As a direct and proximate result Defendants' violation of 42 U.S.C. Sec. 1983,
Plaintiff has sustained injuries and damages. Acting under the color of law,
Defendants worked a denial of Plaintiff's rights, privileges or immunities secured by
the United States Constitution or by Federal law.
WHEREFORE, Plaintiff demands judgment for their unlawful acts against all the
Defendants jointly and severally, for actual, general, special, compensatory
damages in the amount of $ 500,000.00 and further demands judgment against
each said Defendants, jointly and severally, for punitive damages in the amount of
$ 500,000.00, plus costs of this action, including attorney's fees, and such other
relief deemed to be just and equitable.

COUNT TWO: VIOLATIONS OF AMERICAN WITH DISABILITIES ACT, 42

U.S.C. Sec.12101, et seq, (“ADA”), as amended.

 

 
Case 3:14-cv-01670-JAG Document1 Filed 09/04/14 Page 5 of 7

20. Plaintiff repeats and realleges and incorporates by reference the paragraphs 1

through 19 above with the same force and effect as if herein set forth.

21. Plaintiff is a "qualified individual with a disability" as defined in 42 U.S.C. Sec

12131.

22. Plaintiff has been denied the right to a reasonable accommodation under the

aforementioned statute.

23. As a direct and proximate result of Defendants' discrimination, Plaintiff has

sustained injuries and damages. Acting under the color of law, Defendants worked

a denial of Plaintiff's rights, privileges or immunities secured by the United States

Constitution or by Federal law.

WHEREFORE, Plaintiff demands judgment for discrimination against all the
Defendants jointly and severally, for actual, general, special, compensatory
damages in the amount of $ 500,000.00 and further demands judgment against
each said Defendants, jointly and severally, for punitive damages in the amount of
$500,000.00, plus costs of this action, including attorney’s fees, and such other
relief deemed to be just and equitable.

COUNT THREE: DISCRIMINATION BASED ON DISABILITY
(COMMONWEALTH OF PUER RICO LAW # 44, JULY 2ND 1985, AS
AMENDED)

24. Plaintiff repeats and realleges and incorporates by reference the paragraphs 1

through 23 above with the same force and effect as if herein set forth.

25. Plaintiff's health ailment constitutes a disability by and within the meaning of

the aforementioned State law .

 

 
Case 3:14-cv-01670-JAG Document1 Filed 09/04/14 Page 6 of 7

26. Defendants violated said statute by discriminating against Plaintiff upon her
request that she be afforded a reasonable accommodation within the scope of her
post.

27. Plaintiff's disability was a determining factor in Defendants' decision to deny
and preclude Plaintiff to attain a reasonable accommodation.

28. As a direct and proximate result of Defendants' discrimination, Plaintiff has
sustained injuries and damages.

WHEREFORE, Plaintiff demands judgment for the foregoing unlawful actions
against all the Defendants jointly and severally, for actual, general, special,
compensatory damages in the amount of $ 500,000.00 and further demands
judgment against each said Defendants, jointly and severally, for punitive damages
in the amount of $ 500,000.00, plus costs of this action, including attorney’s fees,
and such other relief deemed to be just and equitable.

WHEREFORE, Plaintiff demands judgment, including interest, jointly and
severally against Defendants in an amount no less than $3,000,000.00, plus costs
of this action, including attorney’s fees, and such other relief deemed to be just and
equitable.

Further, Plaintiff demands judgment ordering Defendants to reinstate all
original duties and responsibilities pertaining to Plaintiff's post, and granting Plaintiff

a reasonable accommodation.

 

 
Case 3:14-cv-01670-JAG Document1 Filed 09/04/14 Page 7 of 7

RESPECTFULLY SUBMITTED,

In San Juan, Puerto Rico, this the 4th day of September, 2014.

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vACiTZa ROSARIO MEENDEZ, PRO SE

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La Serrania

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